                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

LAWSON KEITH PILGRIM,              )
                                   )
           Plaintiff,              )
                                   )
v.                                 )                           Cause No.: 4:05CV00522 JMM
                                   )
STATE FARM MUTUAL AUTOMOBILE       )
INSURANCE COMPANY, STATE FARM      )
LIFE INSURANCE COMPANY, STATE FARM )
FIRE & CASUALTY COMPANY, STATE     )
FARM GENERAL INSURANCE COMPANY,    )
and MARSHA PATTERSON,              )
                                   )
           Defendants.             )

                            DEFENDANTS’ MOTION TO DISMISS

               COME NOW Defendants State Farm Mutual Automobile Insurance Company,

State Farm Life Insurance Company, State Farm Fire & Casualty Company, and State Farm

General Insurance Company (collectively “State Farm”), and Marsha Patterson (“Patterson”), by

and through their attorneys, and move to dismiss with prejudice the entirety of plaintiff’s First

Amended Complaint. In support of this motion to dismiss, Defendants State Farm and Patterson

state that all parties to this action have signed a Joint Stipulation of Dismissal, attached hereto as

Exhibit 1 (See Joint Stipulation of Dismissal, “Exhibit 1”). Additionally, Defendants State Farm

and Patterson have addressed and satisfied all attorneys’ liens of plaintiff’s former attorneys,

Robert M. McHenry, P.A., Donna McHenry, P.A., and Gregory D. Taylor, P.A., of McHenry,

McHenry & Taylor, 8210 Henderson Road, Little Rock, Arkansas 72210.

                                          CONCLUSION

               For the reasons set forth herein, Defendants State Farm and Patterson respectfully

request that the Court dismiss with prejudice the entirety of plaintiff’s First Amended Complaint.



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                                            Respectfully submitted,

                                            BRYAN CAVE LLP


                                            By:     /s/ Jerry M. Hunter
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                                            Attorneys for Defendants




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2006, the foregoing was filed electronically with
the Clerk of Court to be served by operation of the Court’s Electronic Filing system upon the
following:

                             Robert M. McHenry, P.A.
                             Gregory D. Taylor, P.A.
                             McHenry, McHenry & Taylor
                             8210 Henderson Road
                             Little Rock, Arkansas 72210


                                                    /s/ Jerry M. Hunter




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